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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

SONDREA MILLER                               §
                                             §
v.                                           §   CIVIL ACTION NO. 4:22-cv-457-O
                                             §
TARRANT COUNTY, TEXAS, et al.                §

                            DEFENDANT DARIEN A. KIRK’S
                         CERTIFICATE OF INTERESTED PERSONS

TO THE HONORABLE JUDGE OF SAID COURT:

        The undersigned counsel of record certifies that the following listed persons have

an interest in the outcome of this case. These representations are made in order that

the Judge of this Court may evaluate possible disqualification or recusal.

        Plaintiff:                        Sondrea Miller

        Beneficial Plaintiffs/
        Claimants:                        KaKeshia Black, Jaquentes Myers, Joshua Myers

        Plaintiff’s counsel:              T. Dean Malone, LAW OFFICES OF DEAN MALONE, P.C.

        Defendant:                        Tarrant County

        Tarrant County’s counsel:         M. Keith Ogle, Asst. Crim. Dist. Atty
                                          Tarrant County District Attorney’s Office

        Defendant:                        Erik Gay

        Gay’s counsel:                    James T. Jeffrey

        Defendant:                        Darien A. Kirk

        Kirk’s counsel:                   Kenneth E. East
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                                Respectfully submitted,

                                s/ Kenneth E. East
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                                DARIEN A. KIRK
